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                         SO ORDERED: May 20, 2022.




                          ______________________________
                          Robyn L. Moberly
                          United States Bankruptcy Judge




                  IN THE UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

                                                      :
In re:                                                :
                                                      : Chapter 11
          USA GYMNASTICS,                             :
                                                      : Case No. 18-09108-RLM-11
                              Debtor.                 :
                                                      :
                                                      :
USA GYMNASTICS,                                       :
                                                      :
                              Plaintiff,              : Bankr. Adv. Case No. 19-50012
                                                      :
                vs.                                   :
                                                      :
ACE AMERICAN INSURANCE COMPANY et al.,                :
                                                      :
                              Defendants.             :
                                                      :

           ORDER GRANTING EXTENSION OF TIME TO RESPOND TO
                 PENDING SUMMARY JUDGMENT MOTION

         Pursuant to Federal Rule of Civil Procedure 56(d), Federal Rule of Bankruptcy

Procedure 7056, and Local Rules B-7006-1(b) and B-7056-1, Liberty Insurance

Underwriters Inc. (“LIU”) has moved for an extension of time to respond to USA

Gymnastics’ (“USAG”) Motion for Partial Summary Judgment Against LIU on
   Case 19-50012     Doc 658    Filed 05/20/22   EOD 05/20/22 10:52:22     Pg 2 of 2




Indemnity (ECF 635, the “Indemnity Motion”), supported by a Declaration of Ronald P.

Schiller showing the grounds for that request. Upon consideration of LIU’s Motion and

any supporting materials, and any objections thereto, it is hereby ORDERED that the

Motion is GRANTED.

      It is further ORDERED that the deadline for LIU to file a response to the

Indemnity Motion is extended until October 28, 2022, or such other later date as the

Court may order.

                                    #      #      #




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